     Case 1-17-46613-nhl       Doc 32    Filed 02/27/18    Entered 02/27/18 14:26:39




 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK

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 In Re:                                      :
                                             :                    Chapter 11
 Bracha CAB CORP., et al.                    :
                                             :                    Case No.
                                             :                    1-17-46613 (NHL)
                                             :
                                             :                    NOTICE OF
                                             :                    APPEARANCE
                                             :
                                             :                    Jointly Administered
                                             :
                                             :
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       PLEASE TAKE NOTICE that the undersigned hereby appears in the above-entitled

proceeding as counsel for Creditor, co-Owner of Jarub Trans. Corp. and nominated co-Executor

of the Estate of Jacob Elberg, Ruben Elberg, and hereby demands that copies of all notices and

other papers be served upon Abrams, Fensterman, Fensterman, Eisman, Formato, Ferrara, Wolf &

Carone, LLP at 630 Third Avenue, Fifth Floor, New York, New York 10017.

Dated: February 27, 2018
                                           Yours etc.,

                                           ABRAMS, FENSTERMAN, FENSTERMAN,
                                           EISMAN, FORMATO, FERRARA, WOLF &
                                           CARONE, LLP


                                           By:____s/Brian Thomas McCarthy______________
                                                  Robert Abrams
                                                  Brian Thomas McCarthy (BM-4808)
                                              630 Third Avenue, Fifth Floor
                                              New York, New York 10017
                                              (212) 279-9200
                                              babrams@abramslaw.com
                                              bmccarthy@abramslaw.com
                                              Attorneys for Ruben Elberg
